         Case
          Case2:17-cr-00169-KJD-VCF
                2:17-cr-00169-KJD-VCF Document
                                      Document74  Filed12/28/17
                                               72 Filed 01/12/18 Page
                                                                  Page41
                                                                       ofof
                                                                          51



 1
                               UNITED STATES DISTRICT COURT
 2
                                   DISTRICT OF NEVADA
 3
                                              )
 4                                            )
     UNITED STATES OF AMERICA,                )
                                              ) CASE NO: 2:17-cr-169-KJD-VCF
 5                Plaintiff,                  )
                                              )
 6                vs.                         )
                                              )                 ORDER
 7   KYLE BLACKMAN,                           )
                                              )
                  Defendant.                  )
 8                                            )
                                              )
 9                                            )

10         IT IS HEREBY ORDERED that that the United States Department of Parole and
11   Probation will prepare a Pre-Plea Presentence Investigation Report on Defendant KYLE
12   BLACKMAN.
13         DATED this _____           January
                       12th day of ______________,   2018
                                                   __________.
14
                                                       ________________________________
15                                                     UNITED STATES DISTRICT JUDGE
16

17

18

19

20

21

22

23

24

25                                             4

26
